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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                *

              vs.                       *   CRIMINAL NO. MJG-11-0095

TROY WILLIAMS, et al.                   *

*         *         *         *         *         *          *         *        *

     MEMORANDUM AND ORDER RE: MOTION TO WITHDRAW GUILTY PLEA

     The Court has before it Defendant Troy Williams’s Motion to

Withdraw Guilty Plea [Document 85], and the materials submitted

related thereto.        The Court finds that a hearing is not

necessary.



I.   BACKGROUND

     On February 23, 2011, Defendant Troy Williams ("Williams")

and two co-defendants were indicted in regard to crimes

committed in the course of two car-jacking incidents on the

night of August 14 – 15, 2010.          The six-count indictment charged

conspiracy to commit carjacking in violation of 18 U.S.C. § 371,

carjacking in violation of 18 U.S.C. § 2119(1), possession of a

firearm in furtherance of a crime of violence in violation of 18

U.S.C. § 924(c)(1)(A)(ii), and one count of possessing a firearm

after being convicted of a felony in violation of 18 U.S.C. §

922(g).




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     Williams was originally represented by appointed counsel

Paul D. Hazelhurst, Esquire (“Attorney Hazelhurst”).           On or

about September 6, 2011, Williams entered into a written plea

agreement calling for him to plead "guilty" to Counts One and

Three of the Indictment, which charged him with conspiracy to

commit carjacking in violation of 18 U.S.C. § 371 and possession

of a firearm in furtherance of a crime of violence in violation

of 18 U.S.C. § 924(c)(1)(A)(ii).       The plea agreement, pursuant

to Rule 11(c)(1)(C),1 provides for a sentence of 144 months

subject to Court acceptance.

     On October 4, this Court held a Rule 11 proceeding at which

the plea was accepted by the Court.

     On November 4, 2011, Williams submitted a pro se motion to

withdraw his guilty plea [Document 85].       On the same date,

Attorney Hazelhurst filed a Motion To Withdraw As Counsel

[Document 81].   On November 10, 2011, this Court granted the

motion to withdraw as counsel and appointed Alan Bussard,

Esquire ("Attorney Bussard") as successor counsel.           Attorney

Bussard has submitted a Memorandum In Support Of Defendant’s

Motion To Withdraw Guilty Plea [Document 101] to which the

Government has responded [Document 108].




1
 All Rule references herein are to the Federal Rules of Criminal
Procedure.
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II.   DISCUSSION

      Pursuant to Rule 11(d)(2)(B), the Court may permit a

defendant to withdraw a plea of guilty after entry of the plea

but before sentencing if “the defendant can show a fair and just

reason for requesting the withdrawal.”         The defendant thus bears

the burden of demonstrating a fair and just reason to justify

the withdrawal.     United States v. Ubakanma, 215 F.3d 421, 424

(4th Cir. 2000); United States v. Moore, 931 F.2d 245, 248 (4th

Cir. 1991) (“a defendant does not have an absolute right to

withdraw a guilty plea, even before sentencing”).

      “If an appropriately conducted Rule 11 proceeding is to

serve a meaningful function, on which the criminal justice

system can rely, it must be recognized to raise a strong

presumption that the plea is final and binding.”               United States

v. Lambey, 974 F.2d 1389, 1394 (4th Cir. 1992) (en banc).                Thus,

“a properly conducted Rule 11 guilty plea colloquy leaves a

defendant with a very limited basis upon which to have his plea

withdrawn.”    United States v. Bowman, 348 F.3d 408, 414 (4th

Cir. 2003).



      A.   Moore Factors

      As held in Moore, in determining whether Williams has

satisfied his burden, this Court considers the following six

factors:

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          (1) whether the defendant has offered
          credible evidence that his plea was not
          knowing or not voluntary,

          (2) whether the defendant has credibly
          asserted his legal innocence,

          (3) whether there has been a delay between
          the entering of the plea and the filing of
          the motion,

          (4) whether defendant has had close
          assistance of competent counsel,

          (5) whether withdrawal will cause prejudice
          to the government, and

          (6) whether it will inconvenience the court
          and waste judicial resources.

931 F.3d at 248.

     The Court shall address these factors in turn.



          1. Voluntariness

     Williams has asserted that the plea agreement was not

knowing or voluntary because Attorney Hazelhurst did not inform

him that a witness was unavailable for a pretrial motions

hearing that was scheduled in June, 2011, and otherwise

intimidated him into signing the plea agreement.

     This Court conducted a fully proper Rule 11 proceeding,

during which Williams, under oath, confirmed that he had no

then-present physical or mental issues, and was advised fully of

the rights that he was waiving as a result of his guilty plea.

Williams affirmed that he understood the terms of the agreement

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and the rights that he was waiving, and Williams admitted to the

facts supporting his conviction. The "unavailable witness"

matter is of no moment whatsoever.      There was merely a need to

change the date of a motion hearing because of a police

officer's schedule.



          2.   Actual Innocence.

          Williams does not assert his actual innocence.             In

fact, he stipulated to facts establishing his guilt and

confirmed his guilt under oath during the Rule 11 proceeding.



          3.   Delay

     Williams filed the instant motion reasonably promptly after

pleading guilty.   See Moore, 931 F.3d at 248 (holding that six

weeks was evidence of “long delay”).



          4.   Competent Counsel

     “To justify a withdrawal of a guilty plea on the basis of

ineffective assistance of counsel, a defendant must show 1) that

his counsel's actions fell below an objectively reasonable

standard, and 2) that but for the attorney's errors, it is

reasonably probable that the defendant would have chosen to face

trial rather than plead guilty.”       United States v. Dyess, 478

F.3d 224, 237 (4th Cir. 2007).

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     There is nothing whatsoever to indicate Attorney

Hazelhurst's representation at any time fell below an

objectively reasonable standard.       Attorney Hazelhurst stated

during the Rule 11 proceeding that he met with Williams “at

least ten times” about the case, and Williams stated under oath

that he was “satisfied” with counsel's representation.

Moreover, there is nothing to suggest that Attorney Hazelhurst

provided anything less than exemplary professional service to

Williams.   Indeed, there is nothing whatsoever to indicate that

there was – or is – any reasonable possibility of success should

Williams proceed to trial.



            5. Prejudice to the Government

     Were Williams to proceed to trial there would be no

"prejudice" to the Government in the sense that the Government

took any action in reliance upon the guilty plea.



            6.   Court Inconvenience and Resources

     Should Williams proceed to trial, he would be tried

separately from the other defendants due to potential Bruton

issues.   This could be said to inconvenience the Court and, more

significantly, the witnesses (particularly the victims).

However, the inconvenience is the same as would exist had

Williams not pleaded guilty.

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       B.   Resolution

       The Court finds that Williams presents no plausible

contention of innocence, no suggestion of a potentially viable

defense, and no basis to find that he was less than competently

represented.     Moreover, as found in a properly conducted Rule 11

proceeding, Williams made a voluntary decision to plead guilty

pursuant to the plea agreement at issue.           The absence of undue

delay, prejudice or inconvenience does not – by any means –

outweigh the strong presumption that the guilty plea was final

and binding.



III.    CONCLUSION

       For the foregoing reasons:

                1. Defendant Troy Williams’s Motion to Withdraw
                   Guilty Plea [Document 85] is DENIED.

                2. Defendant Williams retains the right, pursuant to
                   Rule 11(c)(1)(C), to withdraw his guilty plea
                   should the Court decline to impose the sentence
                   agreed upon in the plea agreement.




       SO ORDERED, on Friday, January 20, 2012.




                                                     /s/__________
                                               Marvin J Garbis
                                          United States District Judge



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